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       In The United States Court of Federal Claims
                                            No. 05-605V

                                (Filed Under Seal: March 2, 2010)

                                      Reissued: March 19, 2010 1
                                             __________


 PAMELA DOYLE, on behalf of KATELYN                *
 DOYLE,                                            *
                                                   *   Vaccine compensation case; Motion for
                        Petitioner,                *   review of final compensation decision;
                                                   *   Causation – burden of proof – proximate
           v.                                      *   temporal relationship; Use of credibility
                                                   *   findings – Moberly.
 SECRETARY OF HEALTH AND HUMAN                     *
 SERVICES,                                         *
                                                   *
                        Respondent.                *
                                             _________

                                             OPINION
                                            __________

     Peter Harwood Meyers, National Law Center, Washington, D.C., for petitioner, with
whom were student attorneys David Faranda and Tian Tian Hu (both of whom argued).

        Alexis B. Babcock, Vaccine/Tort Branch, Civil Division, United States Department of
Justice, Washington, D.C., with whom was Assistant Attorney General Tony West, for
respondent.

ALLEGRA, Judge:

        Petitioner, Pamela Doyle, on behalf of her minor daughter, Katelyn, seeks review of a
decision issued by Chief Special Master Gary J. Golkiewicz on August 28, 2009, denying her
petition for vaccine injury compensation. Petitioner brought this action pursuant to the National
Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to 300aa-39 (2006), alleging that
Katelyn suffered from idiopathic thrombocytopenic purpura (ITP) – a bleeding disorder in which
the body’s immune system attacks its own platelets – as a result of the measles-mumps-rubella
(MMR) vaccination she received. On review, the Chief Special Master denied compensation,


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         An unredacted version of this opinion was issued under seal on March 2, 2010. The parties
were given an opportunity to propose redactions, but no such proposals were made. Nonetheless, the
court has incorporated some minor changes into this opinion.
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finding that Katelyn’s ITP was not caused by the MMR vaccination. For the reasons that follow,
this court affirms that decision.

I.      BACKGROUND

        A brief recitation of the facts provides necessary context.

        Katelyn was born on October 10, 2001, following an uneventful pregnancy. On October
15, 2002, she was seen at Wake County Human Services (WCHS) and received the MMR and
varicella vaccinations. On a subsequent visit to WCHS on April 15, 2003, Katelyn was seen by
nurse Donna Jackson, who, after carefully examining her, found no abnormalities. The latter
finding was consistent with a medical questionnaire filled out by Katelyn’s mother during that
visit, which listed no recent problems or other concerns.

        When Katelyn again visited WCHS on July 8, 2003, her mother pointed out the presence
of “multiple small redish [sic] purple bruises in various stages of healing on [Katelyn’s] arms,
legs and trunk.” The same medical records from which this quote is taken reflect that while
Katelyn “has always bruised easily . . . ever since [she] started walking,” her mother was “more
concerned now” based on a “purplish ‘knot’ in [the] center [of her side].” Blood work done on
Katelyn on July 9, 2003, revealed a platelet count of only 19,000.2 She was admitted to the
Children’s Hospital at the University of North Carolina at Chapel Hill with a chief complaint of
thrombocytopenia.3 There, she was diagnosed with ITP, based on what the treating physician
characterized in his discharge summary as a “new-found thrombocytopenia and increased
bruising.” The same physician reported that Katelyn “has always had periodic bruises [that] do
not go away quickly,” adding that “[e]ven if they hold her tightly, she would get a bruise.” He
noted further, however, that there had been “[increased] severity of bruising over the last several
months.” Katelyn received treatment for ITP over the next year and, because her condition
persisted, eventually was diagnosed with chronic ITP at her July 7, 2004, office visit. Currently,
Katelyn’s ITP is in remission.

       On June 7, 2005, petitioner filed a petition for compensation under the Vaccine Act. On
April 28, 2006, the Chief Special Master held a factual hearing. On December 22, 2006, the Chief
Special Master found that there was no “persuasive information in this record to distinguish the
bruising before and after the vaccination given on October 15, 2002” and that the bruising


        2
          A normal pediatric platelet level is over 150,000/mm. Under the Vaccine Act’s
Qualifications and Aids to Interpretation (QAI), which provide explanations and definitions for
terms used in the Vaccine Injury Table (see Terran ex rel. Terran v. Sec’y of Health and Human
Servs., 195 F.3d 1302, 1307 (Fed. Cir. 1999), cert. denied, 531 U.S. 812 (2000)),
thrombocytopenic purpura is defined by a “serum platelet count less than 50,000/mm<3>.” 42
C.F.R. § 100.3(b)(8).
        3
         Thrombocytopenia means “decrease in number of platelets, such as in thrombocy-
topenic purpura . . . .” Dorland’s Illustrated Medical Dictionary 1906 (30th ed. 2003).

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indicative of the onset of the ITP did not arise “until sometime after the April 2003 visit [to
WCHS] and prior to the July visit.” On September 27, 2007, and December 28, 2007, petitioner
and respondent filed, respectively, their expert reports – the first by Dr. S. Gerald Sandler, the
latter by Dr. James Nachman.4

         An expert hearing was conducted on June 30, 2008. Both of the aforementioned doctors
acknowledged then that the accepted temporal relationship between administering the MMR
vaccine and the onset of ITP, as supported by the medical literature, is six weeks. Nonetheless,
Dr. Sandler was convinced that Katelyn suffered from a rare form of ITP, afflicting only a very
small percentage of the already small subset of children who develop the chronic (rather than the
acute) version of the disease. He testified that Katelyn’s chronic case was among the narrow band
to have an “insidious” onset, meaning that the condition lingered “below the surface” for a period
of time and was not immediately associated with the purpura or petechia that constitute the tell-
tale signs of the disease.5 According to Dr. Sandler, diagnosis of chronic ITP that presents
insidiously is often made when a low platelet count is linked with earlier signs of the disease (such
as bruising or bleeding) that did not raise concerns when first observed. As Dr. Sandler readily
admitted, it is difficult to apply this sort of retrospective diagnosis to a two year-old child, let
alone to pinpoint the onset date of this insidious form of ITP. Dr. Sandler, nonetheless, reckoned
that Katelyn suffered this condition as the result of her MMR vaccination because:
(i) there was no evidence of thrombocytopenia prior to her receipt of the vaccination; (ii)
Katelyn’s mother did not have ITP and thus had not transferred the antibodies to her child; and
(iii) Katelyn had developed a chronic form of ITP less than 38 weeks after her vaccination.

        Dr. Nachman disagreed. He testified that, despite her prolonged symptoms, Katelyn had a
form of ITP that was more acute than chronic, and which arose six to nine months following her
immunization. Dr. Nachman stated that he was unaware of any medical literature linking the
MMR vaccine to ITP with an onset of 26-38 weeks post-vaccination. Without that nexus or any
other explanation for the delay in her symptoms, Dr. Nachman did not believe that Katelyn’s ITP
was caused, in fact, by her MMR vaccination.



        4
          Dr. Sandler is a Professor of Medicine and Pathology at Georgetown University
Medical Center and Director of Transfusion Medicine at Georgetown. He is a member of the
Division of Hematology and Oncology at the Lombardi Cancer Center. He has published and
lectured frequently regarding ITP. Dr. Sandler’s clinical practice is not extensive and primarily
involves adults. Dr. Nachman is a pediatric hematologist/oncologist, who is currently a Professor
of Pediatrics at the medical school at the University of Chicago. His practice involves seeing
200-250 children and young adults in any given month.
        5
         Only about five to ten percent of children suffer from the chronic version of ATP, with
the remainder developing the acute version of the disease. Of the chronic sufferers, Dr. Sandler
estimated that about five percent suffered what he termed the “insidious” version of ITP.
Multiplying these percentages, one finds that Dr. Sandler was asserting that only between 0.25
and 0.5 percent of children with ITP developed the chronic/insidious version.

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        On August 28, 2009, the Chief Special Master denied petitioner’s claim, finding that she
had failed to establish that her ITP was caused-in-fact by the MMR vaccination. Characterizing
the case as “a classic battle of the experts,” the Chief Special Master found that “Dr. Nachman was
more persuasive.” Commenting further, he stated that “Dr. Nachman’s testimony cogently
explained why Katelyn’s case was not ‘atypical’ and thus the onset of Katelyn’s ITP was far
removed from the medically acceptable time frame for onset.” “Dr. Nachman provided a detailed
explanation of the biological mechanism of ITP,” the Chief Special Master further found, as
deriving from an autoimmune response. He noted that Dr. Nachman believed that Katelyn’s case
was no different from many he had seen in his referral practice.6 Relying on this testimony, the
Chief Special Master determined that Katelyn’s case of ITP had arisen too late to be attributable to
her MMR vaccination.

        By comparison, the Chief Special Master found that Dr. Sandler’s testimony “was
unpersuasive and failed the test of reliability,” chastising it as “at times extremely confusing,
internally consistent, and . . . result-oriented.” The Chief Special Master then proceeded to
analyze, at great length, Dr. Sandler’s theory of causation.

        First, he found that Dr. Sandler had failed adequately to support his view that there was a
form of chronic ITP which arose insidiously in children. On this count, the Chief Special Master
wrote –

       The key to his theory was that the five to ten percent of children that have the
       chronic form of ITP will present with a different clinical picture, that is with an
       insidious onset . . . . What was never established was the equating of chronic with
       insidious onset . . . . Dr. Sandler never made the case, despite several rounds of
       questioning by the undersigned, that chronic ITP presents in all instances
       insidiously. This is critical because without the insidious onset petitioners have no
       explanation for the lack of bruising, the extended time frame following
       immunization and the lack of support in the medical records.

The Chief Special Master observed, moreover, that none of the medical literature offered by
petitioner supported Dr. Sandler’s theory.

        Second, the Chief Special Master expressed concern with Dr. Sandler’s apparent inability
to explain the etiology of this form of insidious/chronic ITP. He noted that both doctors were
readily able to explain how acute cases of ITP arise in children, as involving an immune response



        6
          Comparing the two experts, the Chief Special Master wrote “[i]t is important to note
that Dr. Sandler does not have an ‘extensive’ clinical practice presently and what practice he does
have is primarily with adults,” adding that, unlike Dr. Nachman, “[h]e is also not a pediatric
hematologist and obviously not board certified as such.” In this regard, he further noted that Dr.
Nachman sees about ten new cases of ITP per year and has seen between 300 to 400 such
pediatric cases over his career.

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to antibodies produced in response to a virus. These antibodies mistake something on the surface
of the platelets as the virus and, upon attaching to the platelets cause the spleen to remove them
from the system. At some point this process peaks, creating, correspondingly, the crash in platelet
count (and associated problems with bleeding and bruising) that characterize the acute onset of
ITP. The Chief Special Master rejected Dr. Sandler’s attempt to analogize the insidious form of
ITP to the HIV virus, agreeing with Dr. Nachman that the analogy was inapt and thus unhelpful.7
In the view of the Chief Special Master, this left Dr. Sandler and, in turn, petitioner with no real
explanation as to how the chronic form of the ITP virus arises insidiously.

        Finally, the Chief Special Master opined that Dr. Sandler’s model of insidious presentation
did not track the observations made in Katelyn’s medical records. The latter records, he found,
contained no earlier evidence of bruising or bleeding that would constitute symptoms of chronic
ITP when viewed retrospectively – “the medical records do not record any signs of bleeding
subsequent to immunization until nine months after.” Critically, he indicated that Dr. Sandler had
essentially admitted that if there was an insidious onset – that Katelyn’s ITP was percolating
below the surface without evidence of bruising – he could not say whether the ITP began prior to
the immunization.

       To summarize, the Chief Special Master ruled that Dr. Sandler’s testimony was unreliable
because it amounted “to one assumption built upon another.” The Chief Special Master stated that
Dr. Sandler –

       assumes that Katelyn has a chronic form of ITP that presents insidiously. We know
       from Dr. Nachman and the petitioner’s literature that not all chronic ITP presents
       insidiously. Dr. Sandler assumes that Katelyn’s ITP began post-immunization
       despite his concession that we have no reliable historical data to rely on. He
       assumes that the mother failed to spot [indicators of ITP] prior to the gross bruises.
       He maintains that this is a chronic ITP presenting insidiously despite the absence of
       any evidence of minor bruising prior to the diagnosis of ITP despite the literature
       and Dr. Sandler’s testimony regarding his adult model stating that indicators of ITP
       will manifest prior to the obvious signs. Then finally, Dr. Sandler assumes a



        7
          In analogizing the “insidious character” of some chronic ITP to the HIV model of
infection, Dr. Sandler focused on the potential for a delayed immune-response to allow years to
pass before full-blown AIDS develops, and also on the fact that HIV is capable of causing acute
immune ITP secondary to the infection. The Chief Special Master and Dr. Nachman rejected this
analogy, based on the fact that, as Dr. Nachman testified, the MMR vaccine is “a live, attenuated
virus which doesn’t seem to persist,” whereas HIV is an active infection that kills immune cells
and paralyzes the immune system. Dr. Nachman further opined that, while HIV can cause
thrombocytopenia, it presents as an entirely different phenomenon due to HIV’s effect on the
immune system, and often goes away when HIV patients are treated with antiretroviral drugs. On
this basis, the Chief Special Master adopted Dr. Nachman’s conclusion that “[y]ou can’t draw
any analogy from HIV to ITP.”

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       temporal relationship between vaccine and injury of 38 weeks despite admittedly
       not knowing when the onset occurred.

On this basis, the Chief Special Master denied the petition, finding that there was no evidence to
support a finding that Katelyn’s ITP arose within the accepted post-vaccination time frame or that
a proximate temporal relationship of the ITP to the MMR vaccination otherwise existed. The
Chief Special Master, therefore, held that petitioner had failed to establish by a preponderance of
the evidence that the MMR vaccination was the legal cause of Katelyn’s ITP.

        On September 27, 2009, petitioner filed a motion to review the Chief Special Master’s
decision. On October 27, 2009, respondent filed its response to this motion, to which petitioner
replied on November 3, 2009. On January 28, 2010, the court conducted oral argument.

II.    DISCUSSION

        Under the Vaccine Act, this court may review a special master’s decision upon the timely
request of either party. See 42 U.S.C. § 300aa-12(e)(1)-(2). In that instance, the court may:
“(A) uphold the findings of fact and conclusions of law . . . ; (B) set aside any findings of fact or
conclusion of law . . . found to be arbitrary, capricious, an abuse of discretion, or otherwise not in
accordance with law . . . , or; (C) remand the petition to the special master for further action in
accordance with the court’s direction.” Id. at § 300aa-12(e)(2)(A)-(C). Findings of fact and
discretionary rulings are reviewed under an “arbitrary and capricious” standard, while legal
conclusions are reviewed de novo. Munn v. Sec’y of Health and Human Servs., 970 F.2d 863, 870
n. 10 (Fed. Cir. 1992).8

        Within this framework, petitioner insists that “the final decision was not made in
accordance with law.” Specifically, she asserts that the Chief Special Master “did not correctly
follow the legal standards that have been enunciated by the United States Court of Appeals for the
Federal Circuit in Althen v. Sec’y of Health & Human Servs., 418 F.3d 1274 (Fed. Cir. 2005) and
other recent Federal Circuit cases.” She further argues that the Chief Special Master compounded
his errors by impermissibly making and relying upon credibility findings regarding her expert. As
will be seen, however, these arguments make far too much of too little.

        As part of her burden of proof, the petitioner must establish that her injuries were caused
by a vaccine listed on the Vaccine Injury Table. See 42 U.S.C. § 300aa-11(c)(1)(C). The
petitioner may meet this burden by either demonstrating, by preponderant evidence, that her injury
meets the criteria in the Table, or otherwise by proving causation-in-fact. The parties agree that
the injury alleged here does not meet the criteria in the Table and that petitioner must instead
endeavor to prove causation directly. See de Bazan v. Sec’y of Health and Human Servs., 539



        8
           See also Lampe v. Sec’y of Health and Human Servs., 219 F.3d 1357, 1360 (Fed. Cir.
 2000); Saunders v. Sec’y of Health and Human Servs., 25 F.3d 1031, 1033 (Fed. Cir. 1994);
 Savin ex rel. Savin v. Sec’y of Health and Human Servs., 85 Fed. Cl. 313, 315 (2008).

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F.3d 1347, 1351 (Fed. Cir. 2008); Grant v. Sec’y of Health and Human Servs., 956 F.2d 1144,
1147-48 (Fed. Cir. 1992). The Federal Circuit has held that “causation-in-fact in the Vaccine Act
context is the same as ‘legal cause’ in the general torts context.” de Bazan, 539 F.3d at 1351
(quoting Shyface v. Sec’y of Health & Human Servs., 165 F.3d 1344, 1352 (Fed. Cir. 1999)); see
also Pafford v. Sec’y of Health and Human Servs., 451 F.3d 1352, 1355 (Fed. Cir. 2006), cert.
denied, 551 U.S. 1102 (2007). To satisfy this standard, a petitioner need not show that the vaccine
was the sole or predominant cause of her injury, but only that it was a substantial factor. Walther
v. Sec’y of Health & Human Servs., 485 F.3d 1146, 1150 (Fed. Cir. 2007) (citing Shyface, 165
F.3d at 1352).

         In Althen, the Federal Circuit refined this proof standard, holding that to show causation-
in-fact, a petitioner must establish by a preponderance of the evidence: “(1) a medical theory
causally connecting the vaccination and the injury; (2) a logical sequence of cause and effect
showing that the vaccination was the reason for the injury; and (3) a showing of a proximate
temporal relationship between vaccination and injury.” Althen, 418 F.3d at 1278; see also
Capizzano v. Sec’y of Health and Human Servs., 440 F.3d 1317, 1324 (Fed. Cir. 2006). To meet
this burden, a “petitioner must provide a reputable medical or scientific explanation that pertains
specifically to the petitioner’s case, although the explanation need only be ‘legally probable, not
medically or scientifically certain.’” Moberly ex rel. Moberly v. Sec’y of Health and Human
Servs., 592 F.3d 1315, 1322 (Fed. Cir. 2010) (quoting Knudsen v. Sec’y of Health & Human
Servs., 35 F.3d 543, 548-49 (Fed. Cir. 1994)).

        There is no disagreement that petitioner met the first prong of the Althen test because, as
the Table indicates, the MMR vaccine can cause ITP. And there is little discussion in either the
opinion below or the parties’ briefs regarding the second Althen prong. The parties’ arguments,
rather, center on whether the Chief Special Master correctly found that petitioner had not made an
adequate showing of a proximate temporal relationship between the MMR vaccination and her
particular case of ITP. To demonstrate a “proximate temporal relationship” in causation-in-fact
cases, a petitioner must provide “preponderant proof that the onset of symptoms occurred within a
time frame for which, given the medical understanding of the disorder’s etiology, it is medically
acceptable to infer causation-in-fact.” de Bazan, 539 F.3d at 1352; see also Althen, 418 F.3d at
1281; Rotoli v. Sec’y of Health and Human Servs., 89 Fed. Cl. 71, 79 (2009).

        Contrary to petitioner’s claims, the Chief Special Master correctly applied Althen and its
progeny in this case. He did not impose a heightened burden of proof on petitioner, but merely
required her to demonstrate a reasonable biological plausibility of a medically-appropriate
temporal relationship. The decision, in fact, recites haec verba from many of the same opinions
quoted above. Nor is this case like those in which a special master has been found to deviate from
the accepted standards by demanding certain types of proof to establish causation (e.g.,
epidemiologic studies, general acceptance of petitioner’s theory in the scientific or medical
communities). Cf. Andreu v. Sec’y of Health & Human Servs., 569 F.3d 1369, 1377-78 (Fed. Cir.
2009); Capizzano, 440 F.3d at 1325-26. To the contrary, this court perceives no significant
difference between the standards outlined and applied in the decision below and those enunciated
by the Federal Circuit in decisions like Althen and Shyface.


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        It would seem, then, that petitioner’s quarrel must be with the Chief Special Master’s
application of the legal standard to the evidence at hand and, in particular, with his findings
regarding Dr. Sandler’s testimony. The Chief Special Master identified three major flaws in that
testimony. First, he found that Dr. Sandler failed to explain the etiology of a form of ITP that
would be both chronic and insidious. And, in fact, while he posited the existence of a rare and
essentially undocumented form of ITP, Dr. Sandler did little to explain how that form of chronic
ITP arises. See Pafford, 451 F.3d at 1358 (upholding the denial of compensation where experts
did not provide sufficient evidence that a disease occurred within the medically acceptable time
frame). Second, the Chief Special Master faulted Dr. Sandler for not explaining how his theory fit
the progression of symptoms revealed by Katelyn’s medical records. The doctor’s failure is easy
to understand for while those records suggest that Katelyn had “always” had bruising issues, they
do not document any increased pattern of bruising proximate to when the MMR vaccine was
administered – indeed, when Katelyn was examined by a nurse six months after the vaccination,
no abnormalities were reported. See Moberly, 592 F.3d at 1325 (upholding the denial of
compensation where there was no evidence linking the theory offered to the petitioner’s recorded
symptoms). Finally, the Chief Special Master found that Dr. Sandler was unable to establish,
under his causation theory, whether the insidious onset of the chronic ITP began before or after the
MMR vaccination. Dr. Sandler readily acknowledged this problem, although perhaps not
understanding fully the crater it left in his causation theory. See Ryman v. Sec’y of Health and
Human Servs., 65 Fed. Cl. 35, 41 (2005) (upholding the denial of compensation where an expert’s
testimony could not place onset after the vaccination).

        Petitioner has not shown these findings to be erroneous. The practical upshot of the
deficiencies in the record here – exacerbated, as they are, by the contrary testimony of Dr.
Nachman – is to make arguments regarding the particular burden of proof employed by the Chief
Special Master almost immaterial. Laid bare, petitioner’s arguments reflect little more than mere
disagreement with the finding that petitioner failed to establish a proximate temporal relationship
between the vaccination and the onset of the ITP. “Such naked claims,” this court has stated in
analogous circumstances, “by all appearances unsupported by anything in the record, fall far short
of meeting the heavy burden of demonstrating that these findings were the product of an irrational
process and hence arbitrary and capricious.” JWK Int’l Corp. v. United States, 52 Fed. Cl. 650,
660 (2002), aff’d, 56 Fed. Appx. 474 (Fed. Cir. 2003).

          Nor did the Chief Special Master inappropriately use credibility findings. To be sure, the
decisional law indicates that a special master may not “cloak the application of an erroneous legal
standard in the guise of a credibility determination, and thereby shield it from appellate review.”
Andreu, 569 F.3d at 1379; see also Therasense, Inc. v. Becton, Dickinson and Co., 2010 WL
254900, at *29 (Fed. Cir. Jan. 25, 2010). But, as the Federal Circuit recently emphasized, “[t]hat
is not to say . . . that a special master, as the finder of fact in a Vaccine Act case, is prohibited
from making credibility determinations regarding expert testimony.” Moberly, 592 F.3d at 1325.
Rather, in vaccine cases, like any other case involving an expert witness, “[a]ssessments as to the
reliability of expert testimony often turn on credibility determinations, particularly . . . where there
is little supporting evidence for the expert’s opinion.” Id. at 1325-26; see also de Bazan, 539 F.3d
at 1353-54; Pafford, 451 F.3d at 1359. Contrary to petitioner’s claim, special masters thus “are


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entitled – indeed, expected – to make determinations as to the reliability of the evidence presented
to them and, if appropriate, as to the credibility of the persons presenting that evidence.” Moberly,
592 F.3d at 1326.9

        In the case sub judice, the Chief Special Master did not camouflage his use of an unduly
stringent legal test with credibility findings for at least one good reason: there was nothing to
hide, as the proper standard was employed. Nor did the Chief Special Master create holes in
petitioner’s proof by disregarding portions of her expert’s testimony – he merely highlighted the
gaps that were already there. The credibility findings here thus served only to underscore the
result the Chief Special Master reached when he carefully applied the correct legal standard to
what, upon a lengthy analysis of the testimony, expert reports and medical records, proved
unconvincing expert evidence. This case thus is not like Andreu – the situation here is altogether
different. See Broekelschen, 89 Fed. Cl. at 346 (“The special master in this case did not use a
credibility determination as a ruse to pick and choose the relevant evidence or to apply an
incorrect legal standard. Instead, the special master cited the demeanor of the experts as one
factor among many informing his decision.”). As such, petitioner’s claims on this count also fall
well short of the mark.

III.   CONCLUSION

         No doubt Dr. Sandler is extraordinarily qualified to testify regarding ITP. But, proof of
causation entails more than having a well-qualified expert proclaim that the vaccination caused a
disease. Mere conclusory opinions – or ones that are nearly so as unaccompanied by elaboration
of critical premises – will not suffice as proof of causation, no matter how vaunted or sincere the
offeror. See Moberly, 592 F.3d at 1324 (“the special master is entitled to require some indicia of
reliability to support the assertion of the expert witness”). Here, the deficiencies identified and
well-documented by the Chief Special Master in his findings leap from the pages of the record –
this court can no more ignore them than could the Chief Special Master. Despite the dedicated
efforts of her student counsel, petitioner thus has not shown that the resulting decision is either
legally or factually erroneous. As a result, the motion for review is hereby DENIED. No costs.

       IT IS SO ORDERED.10
                                                               s/ Francis M. Allegra
                                                               Francis M. Allegra
                                                               Judge


        9
          See also de Bazan, 539 F.3d at 1354 (explicitly upholding the special master’s
 determination that the testimony of an expert was more “credible and probative” than that of
 another expert); Bradley v. Sec’y of Health and Human Servs., 991 F.2d 1570, 1575 (Fed. Cir.
 1993) (affording great deference to a special master’s credibility findings); Broekelschen v. Sec’y
 of Health and Human Servs., 89 Fed. Cl. 336, 345-46 (2009).
        10
            This order shall be unsealed, as issued, after March 16, 2010, unless the parties, pursuant
 to Vaccine Rule 18(b), identify protected and/or privileged materials subject to redaction prior to
 said date. Said materials shall be identified with specificity, both in terms of the language to be
 redacted and the reasons for that redaction.

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